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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION
                          Case No. 9:18-cr-80166-DMM-1


     UNITED STATES OF AMERICA,

           Plaintiff,

     vs.

     NICHOLAS WUKOSON,

           Defendant.


                                NOTICE OF APPEAL

           NOTICE IS HEREBY GIVEN that Defendant Nicholas Wukoson ap-

     peals to the United States Court of Appeals for the Eleventh Circuit from the

     judgment (Doc. 109) and all other orders in this case.


                                            Respectfully submitted,

                                            /s/ Thomas Burns
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                                            Nicholas Wukoson




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                           CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 8, 2019, I electronically filed the fore-
     going with the Clerk of the Court by using the CM/ECF system, which will
     send a notice of electronic filing to the following:

     U.S. Attorney’s Office:               Nicholas Wukoson

     AUSA Gregory Schiller                 Michael Bruce Cohen
     AUSA William T. Zloch                 Alan Schlesinger

                                           /s/ Thomas Burns
                                           Thomas A. Burns




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